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EXHIBIT D

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Law Offices of

BONITA E. ZELMAN
2001 Marcus Avenue-Suite S150
Lake Success, New York 11042
Tel: (516) 616-0707
Fax: (516) 616-0761

By Certified Mail Return Receipt Requested No. 7005 0390 0003 0582 2080
July 25, 2005

Leesa Whitt-Potter

Vice President-Customer Operations
Wells Fargo Home Mortgage

P.O. Box 9337

Des Moines, IA 50306-9337

Re: American Home Mortgage Loan No. 10000769615

Dear Vice President Whitt-Potter,

On July 21, 2005, I wrote to you indicating that I had spoken to Mr. John Petermeier of
your company who asked me to investigate some questions he had concerning the above
mentioned mortgage (a copy of which is enclosed for easy reference). On July 18, 2005, Mr.
Petermeier wrote to me in response to the administrative complaint I filed against AHM
inadvertently misstating the events which transpired between AHM and my client. The letter is
silent as to the questions he raised to me on June 1, 2005, does not indicate what investigative
action he took upon receiving the responses to his inquiries and does not respond to the Qualified
- Written Request mailed to your company. On May 10, 2005, I indicated to you that Mr. Alvarez
will continue to make his payments to AHM until this matter is resolved. I have noticed that Mr.
David M. Friedman, an Executive Vice President has become involved in this matter and has
endorsed Mr. Alvarez’s checks made out to AHM to WFHM “Without Recourse.”

While I understand the inconvenience and dismay WFHM may find itself by accepting a
fraudulently obtained mortgage from AHM, your company simply cannot take the position that it
will not become involved. Mr. Alvarez immediately notified your company by way of a
Qualified Written Request and we have mailed you a copy of all of our correspondence to AHM.
As you are aware, upon receipt of a Qualified Written Request, your company was required to
undertake an investigation of the issues raised by Mr. Alvarez. Simply forwarding the response
of AHM without conducting an investigation of your own is improper. We also responded
immediately to the inquiries posed by Mr. Petermeier and had been awaiting your response since
he indicated to me that the matter would be handled by two vice-presidents at your company.

While Mr. Alvarez continues to hold out hope that Mr. Strauss will rectify the misconduct
caused by his company, we expect your company to live up to its legal obligations to assist Mr.
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Leesa Whitt-Potter
July 25, 2005
Page 2.

Alvarez and not simply wash your hands and reap the benefits of a fraudulently obtained -
mortgage. In a continued effort to reach a reasonable resolution to this matter, please

mail me copies of your investigation into this matter, conclusions regarding Mr. Petermeier’s
questions to me on June 1, 2005, the individuals you have communicated with at AHM regarding
this matter, the individual at AHM who misinformed WFHM that my Client’s father-in-law had
used the $600.00 credit and the names of the individuals in your company involved with this
investigation and any persons they have spoken to at AHM. The last time I spoke with Mr.
Petermeier, he indicated to me that this matter is being handled by two vice presidents at your
company.

Again I look forward to the above information and to the assistance your company will
lend in the resolution of this matter. Thank you again for your personal attention in this regard,

Very truly yours,
Bonita E. Zelman
-BEZ/jk
enclosures

cc: Office of the Comptroller of the Currency
David M. Friedman
John Petermeier
Gil Alvarez

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1 Home Campus
Des Moines, |A 50328-0001

September 13, 2005

Ms. Bonita Zelman

2001 Marcus Avenue
Suite $150

Lake Success, NY 11042

Re: Wells Fargo Home Mortgage (“WFHM”) Loan Number 0197014558
Your Client’s Name: Gil Alvarez

Dear Ms Zelman:

This letter is in response to your correspondence dated August 25, 2005 addressed to Mr. David
Friedman, Mr. David Friedman, Project Management Manager, and forwarded to the WFHM
Executive Resolution department on September 13, 2005. In your letter, you advised of Mr.
Alvarez

I have enclosed your previous letters and the responses sent. Please again be advised WFHM is
merely the servicer of this loan. WFHM cannot become involved with the contractual agreement
between the mortgager and the originator, American Home Mortgage (“AHM”). Enclosed is a
copy of the letter from AHM. WFHM will continue to service Mr. Alvarez’ loan in accordance
with these terms.

If you have further questions, please contact Ms. Alagna at (631) 622-6476. WFHM apologizes
for any inconvenience this may have caused.

John R Petermeier

Executive Communications Coordinator
Wells Fargo Home:Mortgage

(800) 840-5812

Enclosure: American Home Mortgage letter
Letter sent May 25, 2005
Letter sent July 18, 2005

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is a division of Wells Fargo Bank, N.A.
Case 07-11047-CSS Dot SWAT CE QFo1/05/11 Page 5 of 9
omta FE. Zelman
2001 MARCUS AVENUE
Suite $150
LAKE SUCCESS, N.Y. 11042
516-616-0707

FAX: 516-616-0761

By Certified Mail Return Receipt Requested No. 7006 2760 0001 4607 7616
December 4, 2006

Chairman Richard M. Kovacevich
Chief Executive Officer

Wells Fargo & Company

Wells Fargo Home Mortgage

1 Home Campus

Des Moines, IA 50328-0001

Re: Wells Fargo Home Mortgage’s service of a fraudulently obtained mortgage for
client Gil Alvarez and WFHM's failure to respond to a Qualified Written Request
pursuant to Section 6 of RESPA by failing to conduct a proper investigation.

AHM loan#10000769615; WFHM loan# 0197014558.

Dear Chairman Kovacevich,

| am writing to you requesting that you rectify a fraudulently obtained mortgage
which was obtained by your company from American Home Mortgage (AHM).
Enclosed for your information and review, is a copy of the correspondence | have
mailed to your company regarding this matter.

On April 13, 2005 Mr. Gil Alvarez contacted Wells Fargo Home Mortgage and
submitted a Qualified Written Request pursuant to Section 6 of the Real Estate
Settlement Procedures Act (RESPA 12 U.S.C. 2605) in which he requested that your
company not service a fraudulently obtained mortgage. Instead of conducting an
investigation into this matter as RESPA requires, Mr. John Petermeier of WFHM
wrongfully took AHM’s fabricated responses that the loan was properly obtained. When
| contacted Mr. Petermeier and informed him that WFHM could not simply take the
position that it will not become involved, he asked me to investigate some questions he
had concerning Mr. Alvarez’s interaction with AHM. Incredibly, instead of investigating
this matter as RESPA requires, he again dismisses the RESPA request without any
investigation and wrote “WFHM considers this matter closed unless new information is
presented” (See September 16, 2005 letter enclosed for your review).

On October 12, 2006 the State of Florida, Office of Financial Regulation and AHM
entered into a Consent Agreement which proved among other things, that Mr. Alvarez
was the victim of fraud and misrepresentation and that Mr. Alvarez will incur financial
loss over the thirty year life of the loan (Enclosed is a copy for your review).

We believe that this unfortunate set of circumstances would not have occurred had
your company properly responded to and investigated the Qualified Written Request
Bonita

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Mr. Alvarez mailed shortly after he was victimized by AHM.

| am writing to respectfully request that you set up a meeting with AHM, the original
servicer of the loan, so that we can come to an agreement which is just, proper and
beneficial to all.

Should your company refuse to rectify this fraudulently obtained mortgage |
respectfully request that | be provided with the following so that | may show my client
that your company fully complied with RESPA:

1) A copy of your investigative file into this matter.

2) The name(s) of the individual(s) who investigated this matter on behalf of WFHM.

3) The name(s) of the individual(s) at WFHM who obtained mis-information from AHM
that my client's father-in-law had used the $600.00 credit.

4) All RESPA related investigative actions taken by Mr. John Petermeier, Leesa Whitt-
Potter and David M. Friedman.

5) What actions were taken by Mr. Petermeier with the information he requested on
June 1, 2005.

Thank you in advance for your personal attention and response in this regard.

Very truly yours,

Bonita E. Zelman

cc: Chairman Michael Strauss, American Home Mortgage
Deborah Denton, U.S. Department of Housing and Urban Development
Office of RESPA and Interstate Land Sales
Leesa Whitt-Potter, WFHM Vice President- Customer Operations
John R. Petermeier, WFHM Executive Communications Coordinator
Gil Alvarez
____Case 07-11047-CSS_ Doc 9646-4 Filed 01/05/11 Page"? of 9"
§ Moines, [A 50328-0001

December 22, 2006

Ms. Bonita Zelman

2001 Marcus Avenue
Suite $150

Lake Success, NY 11042

Re: | Wells Fargo Home Mortgage (“WFHM”) Loan Number 0197014558
Your Client’s Name: Gil Alvarez

Dear Ms Zelman:

This letter is in response to your correspondence dated December 4, 2006 addressed to
Mr. Richard Kovacevich, Wells Fargo & Co., Chairman and CEO, and forwarded to the
WFHM Executive Resolution department on December 20, 2006. In your letter, you

stated WFHM fraudulently obtained a mortgage from American Home Mortgage
(“AHM”).

Because you have not supplied any new information, WFHM’s position has not changed.
You have requested confidential information that is for WFHM internal use only.

WFHM considers this matter closed unless new information is presented.

R Petermeier

Executive Communications Coordinator
Wells Fargo Home Mortgage

(800) $40-5812

Enclosure: Letter dated September 13, 2006

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is a division of Wells Fargo Bank, N.A.
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CERTIFICATE OF SERVICE

I hereby certify that on this 31* day of December, 2010, a copy of the foregoing Subordination

Statement was mailed to the following:

Honorable Christopher S. Sontchi
United States Bankruptcy Judge
824 North Market Street
Wilmington, DE 19801

By Priority Mail with Delivery Confirmation No.:

Counsel for Debtors:

Young, Conaway, Stargatt & Tayor, LLP
1000 West Street, ! 7th Floor
Wilmington, DE 19801

By Priority Mail with Delivery Confirmation No.:

Official Committee of Unsecured Creditors
Mark Indelicato, Esq.

Hahn & Hessen LLP

488 Madison Ave. 14" and 15" Floors
New York, NY 10022

By Priority Mail with Delivery Confirmation No.:

Joseph M. McMahon, Esq.

Office of the United States Trustee
J. Caleb Boggs Federal Building
844 King Street, Suite 2207
Wilmington, DE 19801

By Priority Mail with Delivery Confirmation No.

Michael Strauss

Kenneth S. Ziman, Esq.
Simpson Thacher & Bartlett LLP
425 Lexington Avenue

New York, NY 10017

By Priority Mail with Delivery Confirmation No.:

Wells Fargo

Franklin Top, Esq.
Chapman and Cutler LLP
111 West Monroe Street
Chicago, IL 60603

By Priority Mail with Delivery Confirmation No.:

03061070000417173738

030610700004 17173745

030826900001 11790265

: 030826900001 11790272

030826900001 11790289

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GOW!

Gil Q. Alvarez

542 Mount Argyll Court
Apopka, Florida 32712
407-889-4098

Date: December 31, 2010
